     Case 4:21-cv-03649 Document 1 Filed on 11/05/21 in TXSD Page 1 of 20




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


DELENA CHEVIS; Willi Jones, &             §
Ekundayo Nkululeko; individually and on   §
behalf of similarly situated individuals, §
                                          §
                                          §     DCKT NO. _____________
      Plaintiffs                          §
                                          §
                                          §     JURY TRIAL DEMANDED
      -vs-                                §
                                          §
TEXAS SOUTHERN UNIVERSITY                 §
                                          §     COLLECTIVE ACTION
      Defendant.                          §     PURSUANT TO 29 U.S.C.
                                          §     §216(b)
                                          §
______________________________________________________________________________

     PLAINTIFF’S ORIGINAL COMPLAINT – FLSA COLLECTIVE ACTION &
                            FMLA INTERFERENCE
______________________________________________________________________________


TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

       NOW COMES DELENA CHEVIS, Willi Jones, and Ekundayo Nkululeko,

(hereinafter “Plaintiffs”) by and through their attorneys The Estes Law Firm, P.C.,

individually and on behalf of all other similarly situated individuals, and files this, their

Original Complaint against Defendants as follows:

                          I. SUMMARY OF THE COMPLAINT

   1. This is a collective action brought pursuant to 29 U.S.C. §216(b) by Plaintiffs’

Delena Chevis Willi Jones, and Ekundayo Nkululeko on behalf of themselves and all

others similarly situated, which arises from Defendants’ willful violations of the federal

Fair Labor Standards Act (hereinafter “FLSA”), 29 U.S.C. §201, et seq., for failure to pay
     Case 4:21-cv-03649 Document 1 Filed on 11/05/21 in TXSD Page 2 of 20




proper minimum wage for all hours worked, failure to pay 1.5x the regular rate for hours

worked in excess of 40 in a workweek, and failure to pay for all hours worked. Plaintiff

Delena Chevis also alleges individual claims for violations of her rights under the Family

Medical Leave Act of 1991, as amended (29 U.S.C. §2601).

   2. All statements are made upon information and belief.

   3. Defendant Texas Southern University (“TSU”), is a public university doing

business in the state of Texas.

   4. Plaintiffs’ worked as security guards of TSU during various periods. They were

paid hourly but were not always paid for their overtime and were not always paid

correctly for all hours worked.

   5. Separately, Plaintiff Delena Chevis was terminated in retaliation for applying for

Family & Medical Leave, in violation of 29 CFR Section 825.220 and the Family &

Medical Leave Act statute.

   6. Plaintiffs’ bring this collective action on behalf of themselves and others similarly

situated to challenge Defendants’ unlawful policy of failing to pay their non-exempt

employees minimum wage for all hours worked, failure to pay the federally mandated

overtime rate for hours worked in excess of 40 per work week, and failure to pay for all

hours worked in violation of the Fair Labor Standards Act Section 206, 207, and 211.

   7. Plaintiffs’ bring this claim under the FLSA on behalf of all similarly situated

employees who may choose to opt into this action pursuant to 29 U.S.C. §216(b).

                           II. JURISDICTION AND VENUE

                                            2
     Case 4:21-cv-03649 Document 1 Filed on 11/05/21 in TXSD Page 3 of 20




   8. This Court has federal question jurisdiction pursuant to 29 U.S.C. § 216(b) and 28

U.S.C. § 1331 because Plaintiffs have brought a claim pursuant to the Fair Labor

Standards Act, 29 U.S.C. § 201, et seq.

   9. This Court also has federal question jurisdiction pursuant to 29 U.S.C. §2617(b)(2)

and (d) because Plaintiff has brought a claim pursuant to the Family & Medical Leave

Act, 29 CFR 825.220.

   10. Venue is proper in this Court because several of the Plaintiffs’ reside within this

judicial district, and because all or a substantial part of the events or omissions giving rise

to Plaintiffs’ claim occurred within this District.

                                        III.   PARTIES

   11. Plaintiff Delena Chevis is an individual and resident of Houston, Texas. Plaintiff

worked as a security guard for Defendant during the proposed class period. In the year

prior to application for Family & Medical Leave, she was eligible for FMLA leave due to

the fact that she had worked at least 1250 hours and had been working for Defendant for

at least 12 months.

   12. Plaintiff Willi Jones is an individual and resident of Houston, Texas. Plaintiff

worked as a security guard for Defendant during the proposed class period.

   13. Plaintiff Ekundayo Nkululeko is an individual and resident of Houston, Texas.

Plaintiff worked as a security guard for Defendant during the proposed class period.

   14. The proposed Class Members are:




                                               3
     Case 4:21-cv-03649 Document 1 Filed on 11/05/21 in TXSD Page 4 of 20




   All current and former individuals working as security guards of Texas
   Southern University; at any time during the three year period prior to the filing
   of this lawsuit through final approval of any settlement or judgment.

   15. Defendant Texas Southern University is a foreign corporation doing business in

the state of Texas and is headquartered at 3100 Cleburne St., Houston, Texas 77004.

Texas Southern University may be served at the Office of General Counsel, 3100

Cleburne St., Hannah Hall, Room 310, Houston, Texas 77004.

                                IV. FLSA COVERAGE

   31. At all material times, Texas Southern University has been an employer within the

meaning of 3(d) of the FLSA. 29 U.S.C. § 203(d).

   32. At all material times, Texas Southern University has been an enterprise within the

meaning of 3(r) of the FLSA. 29 U.S.C. § 203(r).

   33. At all material times, Plaintiffs worked for Defendant on Defendant’s premises,

were subject to substantial control by Defendant and its agents, could be hired, fired, or

have their employment conditions modified by Defendant, did not perform a specialty job

within the production line, and had no ability to refuse work for Defendant.

   34. At all material times, Texas Southern University has been an enterprise in

commerce or in the production of goods for commerce within the meaning of 3(s)(1) of

Section 301 of the FLSA because they have had employees engaged in commerce and

have had, and continue to have, an annual gross business volume in excess of the

statutory standard. 29 U.S.C. § 203(s)(1).




                                             4
     Case 4:21-cv-03649 Document 1 Filed on 11/05/21 in TXSD Page 5 of 20




   35. At all material times, Texas Southern University has been an institution of higher

education as defined by 29 U.S.C. § 203(s)(2).

   36. At all material times, Texas Southern University has been an employer with more

than 50 employees and qualifies as a covered employer under the Family & Medical

Leave Act.

                             V.     STATEMENT OF FACTS

   37. All statements are made upon information and belief.

                        I.     Fair Labor Standards Act Allegations

   38. Plaintiffs are security guards working for Texas Southern University.

   39. Plaintiffs are nonexempt employees who are paid hourly.

   40. In violation of Texas Labor Code Section 61.011(b), Plaintiffs were only paid

once per month for all hours worked.

   41. In violation of Texas Labor Code Section 61.018 and Texas Administrative Code

Section 821.28, Plaintiffs had their wages unlawfully deducted, for work expenses, such

as uniforms. Plaintiffs’ never signed written authorizations permitted the deductions.

   42. Plaintiffs made repeated attempts to informally resolve these disputes with

Defendant, including multiple written correspondence, and phone calls, requesting

information to confirm Plaintiffs’ claims. Defendant provided minimal information and

repeatedly missed its own deadlines for providing the necessary information.

      First Example – April of 2019




                                            5
     Case 4:21-cv-03649 Document 1 Filed on 11/05/21 in TXSD Page 6 of 20




   43. To illustrate the wage errors, please review Plaintiffs’ Exhibits D, E, and F.

Exhibit D are Ms. Chevis’ time sheet for the week of March 31, 2019 – April 6, 2019;

April 7, 2019 – April 13, 2019; April 14, 2019 – April 20, 2019; April 21, 2019 – April

27, 2019; and April 28, 2019 – May 4, 2019. Exhibit E is a copy of Ms. Chevis’

Earnings Information sheet, for the pay period of April 1, 2019 – April 30, 2019, that she

was given with her paycheck. Exhibit F is a copy of Ms. Chevis’ Earnings Information

sheet, for the pay period of April 1, 2019 – April 30, 2019, that was given to Plaintiffs by

Defendant in connection with pre-suit settlement discussions.

   44. Looking first at the time sheets shown in Exhibits D, and ignoring data from work

days outside the month of April of 2019, Ms. Chevis worked 32 hours of straight time in

the first work week; 40 hours of straight time and 6 hours of Special Event time in the

second work week; 40 hours of straight time, 8 holiday hours, and 5.5 special event hours

in the third work week; 40 hours of straight time and 7 hours of special event time in the

fourth work week, and 24 hours of straight time in the fifth work week. That totals 176

hours of straight time, 8 hours of holiday pay, and 18.5 hours of special event time.

   45. Upon information and belief, Ms. Chevis’ wage rate in April of 2019 was

$13.461778/hour.

   46. Now contrast that with her actual pay as reflected in Exhibits E & F. First notice

that the first page of Exhibit E and Exhibit F are identical except that someone has hand

written in additional information in Exhibit F.




                                             6
     Case 4:21-cv-03649 Document 1 Filed on 11/05/21 in TXSD Page 7 of 20




   47. Ms. Chevis was paid for 16 hours of sick pay and 48 hours of vacation pay. This

despite the fact that Ms. Chevis never took any sick or vacation time during the month of

April of 2019.

   48. Ms. Chevis was paid 24 hours of overtime at her straight time rate of $13.461778.

   49. Ms. Chevis was paid for 37.33 hours at a rate of $36.54120.

   50. Ms. Chevis was paid 1 hour of supplemental pay at a rate of $312.50.

   51. Ms. Chevis had deductions applied for 327327327AD1 Life3, 327327327AD1

Accident, and 327327327AD1 Health Select that, upon information and belief, she never

authorized.

   Second Example – October 2019

   52. To illustrate the wage errors, please review Plaintiffs’ Exhibits G, H and I.

Exhibit G are Ms. Chevis’ time sheet for the week of September 29, 2019 – October 5,

2019; October 6, 2019 – October 12, 2019; October 13, 2019 – October 19, 2019;

October 20, 2019 – October 26, 2019; and October 27, 2019 – November 2, 2019.

Exhibit H is a copy of Ms. Chevis’ Earnings Information sheet, for the pay period of

October 1, 2019 – October 31, 2019, that she was given with her paycheck. Exhibit I is a

copy of Ms. Chevis’ Earnings Information sheet, for the pay period of October 1, 2019 –

October 31, 2019, that was given to Plaintiffs by Defendant in connection with pre-suit

settlement discussions.

   53. Looking first at the time sheets shown in Exhibits G, and ignoring data from work

days outside the month of October of 2019, Ms. Chevis worked 24 hours of straight time

                                           7
     Case 4:21-cv-03649 Document 1 Filed on 11/05/21 in TXSD Page 8 of 20




in the first work week; 40 hours of straight time and 22 hours of Special Event time in the

second work week; 40 hours of straight time and 12 overtime hours in the third work

week; 40 hours of straight time in the fourth work week, and 32 hours of straight time

and 3 hours of overtime in the fifth work week. That totals 176 hours of straight time, 15

hours of overtime pay, and 22 hours of special event time.

   54. Upon information and belief, Ms. Chevis’ wage rate in October of 2019 was

$13.73/hour.

   55. Now contrast that with her actual pay as reflected in Exhibits H & I. First notice

that the first page of Exhibit H and Exhibit I are identical except that someone has hand

written in additional information in Exhibit I.

   56. For reasons that are entirely unclear, despite working 176 hours, Ms. Chevis was

only paid for 173.33 hours.

   57. For reasons that are entirely unclear, despite working 15 hours of overtime, Ms.

Chevis received no overtime pay at all.

   58. Ms. Chevis had deductions applied for 327327327AD1 Life3, 327327327AD1

Accident, and 327327327AD1 Health Select that, upon information and belief, she never

authorized.

   Third Example – March 2019

   59. To illustrate the wage errors, please review Plaintiffs’ Exhibits J, K and L. Exhibit

J are Ms. Chevis’ time sheet for the week of February 24, 2019 – March 2, 2019; March

3, 2019 – March 9, 2019; March 10, 2019 – March 16, 2019; March 17, 2019 – March

                                              8
     Case 4:21-cv-03649 Document 1 Filed on 11/05/21 in TXSD Page 9 of 20




23, 2019; and March 31, 2019 – April 6, 2019 (March 24, 2019 – March 30, 2019 is

missing). Exhibit K is a copy of Ms. Chevis’ Earnings Information sheet, for the pay

period of March 1, 2019 – March 31, 2019, that she was given with her paycheck.

Exhibit L is a copy of Ms. Chevis’ Earnings Information sheet, for the pay period of

March 1, 2019 – March 31, 2019, that was given to Plaintiffs by Defendant in connection

with pre-suit settlement discussions.

   60. Looking first at the time sheets shown in Exhibits J, and ignoring data from work

days outside the month of March of 2019, Ms. Chevis worked 40 hours of straight time in

the first work week; 40 hours of straight time, 16 hours of overtime, and 4 hours of

special event time in the second work week; 40 hours of straight time and 4.5 hours of

special event time in the third work week; the fourth work week is missing; and 0 hours

in the fifth work week. That totals at least 144 hours of straight time, 24 hours of

overtime pay, and 8.5 hours of special event time.

   61. Upon information and belief, Ms. Chevis’ wage rate in October of 2019 was

$13.46/hour.

   62. Now contrast that with her actual pay as reflected in Exhibits J & L. First notice

that the first page of Exhibit J and Exhibit L are identical except that someone has hand

written in additional information in Exhibit L.

   63. Ms. Chevis was paid for 149.33 hours of straight time, 24 hours of holiday pay at

a straight time rate, and no overtime.




                                             9
    Case 4:21-cv-03649 Document 1 Filed on 11/05/21 in TXSD Page 10 of 20




   64. For reasons that are entirely unclear, despite working 24 hours of overtime, Ms.

Chevis received no overtime premium pay at all.

   65. Ms. Chevis had deductions applied for 327327327AD1 Life3, 327327327AD1

Accident, and 327327327AD1 Health Select that, upon information and belief, she never

authorized.

   66. Plaintiffs Delena Chevis, Willi Jones, and Ekundayo Nkululeko have all advised

that they believe they were similarly paid improperly.

   67. Plaintiffs have further advised that they believe other security guards at Texas

Southern University are interested in participating in the lawsuit to determine if they were

also paid properly.

   68. Defendant’s failures to pay the Plaintiffs’ and potential class members the required

overtime premiums, failure to pay for all hours worked, and failure to minimum wage for

all hours worked results from generally applicable policies and procedures, and does not

depend on the personal circumstances of the potential class members.

   69. The experience of the Plaintiffs, with respect to their pay, conditions of

employment, and record keeping by their employers, are typical of the experiences of the

potential class members.

   70. All class members are non-exempt employees entitled to overtime premiums,

payment for all hours worked, payment of at least the federal minimum wage for all

hours worked, and the information required under Texas Labor Code 62.003.




                                            10
    Case 4:21-cv-03649 Document 1 Filed on 11/05/21 in TXSD Page 11 of 20




   71. Although the exact amount of damages may vary among potential class members,

the damages for the potential class members arise from a common nucleus of facts and

can be easily calculated by a simple formula. Liability is based on a systematic course of

wrongful conduct by Defendant that caused harm to Plaintiffs and all potential class

members by denying them all of their lawfully earned wages.

   72. The potential class members should be readily identifiable through the

employment, payroll and timekeeping records in the possession of the Defendants as

required by 29 U.S.C. 211(C). These similarly situated employees may be readily notified

of this action through direct U.S. mail and/or other appropriate means, and allowed to opt

into a class pursuant to 29 U.S.C. §216(b), for the purpose of collectively adjudicating

their claims for overtime compensation, liquidated damages (or, alternatively, interest)

and attorneys’ fees and costs under the FLSA.

   73. As such, the FLSA opt-in class of similarly situated Plaintiffs is properly defined

as follows:

       All current and former individuals working as security guards of Texas
       Southern University; at any time during the three year period prior to the
       filing of this lawsuit through final approval of any settlement or judgment.


   74. A copy of Delena Chevis consent to bring this claim for failure to pay minimum

wages, failure to pay for all hours worked, and failure to pay premium wages for hours

worked in excess of 40 in a work week, is attached hereto as Exhibit A.




                                           11
    Case 4:21-cv-03649 Document 1 Filed on 11/05/21 in TXSD Page 12 of 20




   75. A copy of Willi Jones consent to bring this claim for failure to pay minimum

wages, failure to pay for all hours worked, and failure to pay premium wages for hours

worked in excess of 40 in a work week, is attached hereto as Exhibit B.

   76. A copy of Ekundayo Nkululeko consent to bring this claim for failure to pay

minimum wages, failure to pay for all hours worked, and failure to pay premium wages

for hours worked in excess of 40 in a work week, is attached hereto as Exhibit C.

   77. Upon information and belief of Plaintiffs’, Defendant TSU had knowledge of its

violations of the FLSA and all of its actions were either willful or showed reckless

disregard for their violations of the FLSA.

                       II.    Family & Medical Leave Act Allegations

   78. This cause of action is as an individual action under 29 CFR 825.220.

   79. Plaintiff Delena Chevis attempted to take Family & Medical Leave for her

treatment for her medical condition.

   80. Defendant retaliated against Chevis by falsely accusing Chevis of exaggerated

misconduct and terminating her for pretextual reasons.

   81. Plaintiff is eligible for Family & Medical Leave due to her having worked at least

1250 hours in the preceding 12 months while working for Defendant.

   82. Plaintiff was pretextually terminated for multiple grounds: (1) MAPPS Policy
02.05.03 Discipline and Termination Policy: Neglect of duties, loafing or wasting work
time; (2) MAPPS Policy 02.05.05 Ethics & Conflicts of Interest: Employees shall protect
and conserve public property and shall not use it for other than authorized activities; (3)
2.14 Conduct and Behavior: Members whether on or off duty shall be governed by the

                                              12
    Case 4:21-cv-03649 Document 1 Filed on 11/05/21 in TXSD Page 13 of 20




ordinary and reasonable rules of good conduct and behavior, and shall not commit any
act tending to bring reproach or discredit upon themselves and /or the department; and (4)
5.16 Immoral or Disorderly Conduct: Members shall not conduct themselves in an
immoral, indecent, lewd, or disorderly manner or in a manner that could be construed by
an observer as such. Members shall not associate with any person or persons engaging in
criminal or immoral conduct.
   83. The circumstances were this. At approximately 1800 hours, on January 7, 2020,

Plaintiff was on duty working the front desk at the Lanier West Building. While working

the front desk, two other security guards, Matthew Richardson and Marrick Ardoin

arrived. Greetings were exchanged and there was some discussion.

   84. At approximately 0025 hours on January 8, 2020, Plaintiff used a computer to

draft a reply email to Ms. Eboni Johnson of TSU Human Resources. Ms. Johnson had

requested additional information from Plaintiff regarding her already filed and pending

application for FMLA leave.

   85. While Plaintiff was sending this email, her back was turned and she could not see

the other two security guards, Mr. Richardson and Mr. Ardoin.

   86. Unbeknownst to Plaintiff, Mr. Ardoin used a can of white spray snow to spray the

letters FU on a window nearby.

   87. The spray snow is not acrylic spray paint and does not have an odor.

   88. At this time, the building had already been festooned with spray paint and other

decorations to celebrate the holiday season which had just ended.




                                           13
     Case 4:21-cv-03649 Document 1 Filed on 11/05/21 in TXSD Page 14 of 20




   89. As a result of Plaintiff not having any reason to suspect a fellow security guard of

engaging in graffiti and the fact that the graffiti was in the same white as many other

spray painted decorations, Plaintiff did not notice the graffiti while she was on her shift.

   90. The following shift on January 8, 2020, Plaintiff was asked to meet with Director

of Security Damian Bradshaw. Director Bradshaw showed Plaintiff the surveillance

video and asked why she had not reported the graffiti. Plaintiff advised the Director that

she did not see the graffiti.

   91. On January 13, Plaintiff had the surgery which was the reason why she had

applied for FMLA.

   92. On January 21, Plaintiff was advised that she was being terminated effective

immediately by Chief Mary Young. The termination notice specifically claimed that

Plaintiff had “conduct[ed] [her]self in an immoral, indecent, lewd, or disorderly manner

or in a manner that could be construed by an observer as such. Members shall not

commit any act tending to bring reproach or discredit upon themselves and/or the

department.

   93. Plaintiff has repeatedly requested Defendant provide a copy of the surveillance

video to evaluate the claims but Defendant has not produced it.

   94. Upon information and belief, Plaintiff alleges that Defendant created a false pre-

text of misconduct in order to interfere with Plaintiff’s ability to take FMLA leave which

she had already begun.

                           VI. FIRST CAUSE OF ACTION
                          VIOLATION OF 29 U.S.C. Section 207
                                             14
    Case 4:21-cv-03649 Document 1 Filed on 11/05/21 in TXSD Page 15 of 20




                                 Failure to Pay Overtime

   95. Plaintiffs’ incorporate herein all previously stated allegations as well as all of the

attached Exhibits.

   96. Pursuant to the Fair Labor Standards Act, 29 U.S.C. §207(a)(1), an employer must

pay an employee overtime at a rate not less than one and a half (1.5) times the

employee’s regular rate of pay for all hours worked in excess of forty hours per week.

   97. Plaintiffs’ and potential class members regularly worked in excess of forty hours

per week but were not paid overtime premium pay for hours worked in excess of forty

hours per week during the proposed class period of the lawsuit.

   98. None of the exemptions provided by the FLSA to the overtime obligation applied

to Plaintiffs or the potential class members.

   99. Defendants’ failure to pay overtime to Plaintiffs and potential class members, in

violation of the FLSA, was willful and not based on a good faith belief that their conduct

did not violate the FLSA. As such, the foregoing conduct, as alleged, constitutes a willful

violation with the meaning of the FLSA. 29 U.S.C. 255(a).

   100.       As a direct and proximate result of Defendants’ willful unlawful conduct,

Plaintiffs and potential class members have suffered, and will continue to suffer, lost

wages and other damages.

   101.       This claim is brought on behalf of a class of similarly situated individuals

who may choose to “opt in” to this case, pursuant to 29 U.S.C. §216(b).

                           VII. SECOND CAUSE OF ACTION
                        VIOLATION OF 29 U.S.C. Section 206
                                                15
    Case 4:21-cv-03649 Document 1 Filed on 11/05/21 in TXSD Page 16 of 20




                Failure to Pay Minimum Wage for all Hours Worked

   102.       Plaintiffs’ incorporate herein all previously stated allegations as well as all

of the attached Exhibits.

   103.       Pursuant to the Fair Labor Standards Act, 29 U.S.C. §206(a), Defendants

must pay each of its employees at least the federal minimum wage of $7.25/hour for any

hours worked.

   104.       Defendants’ routinely failed to pay Plaintiffs and Class members at least

the minimum wage for all hours worked during the proposed class period of the lawsuit.

   105.       None of the exemptions provided by the FLSA to the minimum wage

obligation applied to Plaintiffs or the class members.

   106.       Defendants’ failure to pay overtime to Plaintiffs and class members, in

violation of the FLSA, was willful and not based on a good faith belief that their conduct

did not violate the FLSA. As such, the foregoing conduct, as alleged, constitutes a willful

violation with the meaning of the FLSA. 29 U.S.C. 255(a).

   107.       As a direct and proximate result of Defendants’ willful unlawful conduct,

Plaintiffs have suffered, and will continue to suffer, lost wages and other damages.

   108.       This claim is brought on behalf of a class of similarly situated individuals

who may choose to “opt in” to this case, pursuant to 29 U.S.C. §216(b).

                       VIII. THIRD CAUSE OF ACTION
                     VIOLATION OF 29 U.S.C. Section 2615
      Interference and Retaliation for Lawful Use of Family & Medical Leave

                            Count I       FMLA Interference

                                             16
     Case 4:21-cv-03649 Document 1 Filed on 11/05/21 in TXSD Page 17 of 20




   109.         Plaintiffs’ incorporate herein all previously stated allegations as well as all

of the attached Exhibits.

   110.         The Family & Medical Leave Act (“FMLA”) provides that an employer

may not interfere with or retaliate against an employee for exercising their rights under

the FMLA, pursuant to 29 U.S.C. Section 2615 and 29 C.F.R. 825.220.

   111.         Plaintiff Delena Chevis was an employee eligible for FMLA leave pursuant

to the requirements of the statute.

   112.         TSU is an employer covered by the FMLA statute.

   113.         Delena Chevis was entitled to take FMLA for a qualifying serious health

condition.

   114.         TSU already had notice that Ms. Chevis intended to take the FMLA leave

to which she was entitled.

   115.         Rather than give Ms. Chevis the leave to which she was entitled, TSU

terminated her.

   116.         As a result of Defendant’s unlawful conduct, Plaintiff Delena Chevis has

been injured.

                              Count II       FMLA Retaliation

   117.         The taking of FMLA leave is a statutorily protected right and Ms. Chevis

engaged in that statutorily protected activity.

   118.         The adverse employment action of termination was taken against Ms.

Chevis by her employer TSU.

                                               17
     Case 4:21-cv-03649 Document 1 Filed on 11/05/21 in TXSD Page 18 of 20




   119.         The termination was in retaliation for her attempting to take her FMLA

leave.

   120.         As a result of Defendant’s unlawful conduct, Plaintiff Delena Chevis has

been injured.



                                    XI.    JURY DEMAND

   121.         Plaintiffs, individually and on behalf of the putative class, demands a trial

by jury for all issues of fact.

                                  XII.    DAMAGES SOUGHT

   155.         Plaintiffs and potential Class Members are entitled to recover their unpaid

minimum wages.

   156.         Plaintiffs and potential Class Members are entitled to recover their unpaid

overtime premium wages.

   157.         Plaintiffs and Class Members are entitled to an amount equal to all their

unpaid wages as liquidated damages. 29 U.S.C. § 216(b).

   158.         Plaintiffs and Class Members are entitled to recover attorneys’ fees and

costs as required by the FLSA 29 U.S.C. § 216(b).

   159.         Plaintiff Delena Chevis is entitled to back pay for all wages lost since her

wrongful termination.

   160.         Plaintiff Delena Chevis is entitled to compensation for all lost benefits

since her wrongful termination.

                                               18
       Case 4:21-cv-03649 Document 1 Filed on 11/05/21 in TXSD Page 19 of 20




   161.         Plaintiff Delena Chevis is entitled to reinstatement or front pay in lieu of

reinstatement.

   162.         Pre and post judgment interest as appropriate.

   163.         Such other relief as may be just and equitable.

                               XIII. PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs Delena Chevis, Willi Jones, and Ekundayo Nkululeko, on

behalf of themselves individually and on behalf of all other persons similarly situated,

known and unknown, request that this Court enter the following relief:

        a.      Permission for all current and former security guards and individuals

        working for the security department of Texas Southern University; at any time

        during the three year period prior to the filing of this lawsuit through final

        approval of any settlement or judgment to be issued notice of the lawsuit and to be

        given the opportunity to opt-in to the lawsuit pursuant to Section 216(b) of the

        FLSA.

        b.      Judgement that the Defendants’ conduct was willful;

        c.      All damages to which the named Plaintiffs and potential class members

may be entitled;

        d.      Liquidated and multiple damages as allowed by law, including double

damages under the FLSA;

        e.      Penalties as provided for under the FLSA including pursuant to Section

216;

                                               19
    Case 4:21-cv-03649 Document 1 Filed on 11/05/21 in TXSD Page 20 of 20




      f.     An injunction prohibiting Defendants from further violations of the law as

described above;

      g.     Back pay for Ms. Delena Chevis stemming from her wrongful termination;

      h.     Compensation for lost benefits Ms. Delena Chevis endured as a result of

her wrongful termination;

      i.     Reinstatement for Ms. Delena Chevis to her former position prior to her

wrongful termination;

      j.     Attorney’s fees and costs;

      k.     Pre and post judgment interest as appropriate; and

      l.     Any other relief to which Plaintiff and class members may be entitled.



Dated: November 5, 2021


                                               Respectfully submitted,

                                               /s/ John Cruickshank
                                               By: John Cruickshank
                                               john@cruickshank.attorney
                                               Texas Bar No. 24045730
                                               Federal Bar No. 910674
                                               Joshua Estes
                                               joshuaestes@estespc.net
                                               Texas Bar No. 24043651
                                               Federal Bar No. 637546
                                               716 S. Union St.
                                               Richmond, Texas 77469
                                               Tel. (281) 238-5400
                                               Fax. (281) 238-5015
                                               Attorneys for Plaintiffs

                                          20
